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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
OFFICIAL   COMMITTEE                       OF       UNSECURED           )
CREDITORS,                                                              )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )
                                                                        )
CLO HOLDCO, LTD., CHARITABLE DAF HOLDCO,                                )   Adv. Pro. No. 20-03195 (SGJ)
LTD., CHARITABLE DAF FUND, LP, HIGHLAND                                 )
DALLAS FOUNDATION, INC., THE DUGABOY                                    )
INVESTMENT TRUST, GRANT SCOTT III IN HIS                                )
INDIVIDUAL CAPACITY, AS TRUSTEE OF THE                                  )
DUGABOY INVESTMENT TRUST, AND AS                                        )
TRUSTEE OF THE GET GOOD NONEXEMPT                                       )
TRUST, AND JAMES D. DONDERO,                                            )
                                                                        )
                             Defendants.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

     I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 17, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and on August 18, 2021, via First Class Mail upon the service list attached
hereto as Exhibit B:

                                           (Continued on Next Page)



1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   Summons Service Executed [Docket No. 78]


Dated: August 20, 2021
                                           /s/ Elliser Silla
                                           Elliser Silla
                                           KCC
                                           222 N Pacific Coast Highway, Suite 300
                                           El Segundo, CA 90245
                                           Tel 310.823.9000




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                             EXHIBIT A
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                                                                          Exhibit A
                                                                    Adversary Service List
                                                                   Served via Electronic Mail



              Description                              CreditorName                     CreditorNoticeName                             Email
                                                                                                                     john@bondsellis.com;
                                                                                                                     john.wilson@bondsellis.com;
                                                                               John Y. Bonds, III, John T. Wilson, bryan.assink@bondsellis.com;
                                           Bonds Ellis Eppich Schafer Jones    IV, Bryan C. Assink, Clay M. Taylor, clay.taylor@bondsellis.com;
Counsel for James Dondero                  LLP                                 William R. Howell, Jr.                william.howell@bondsellis.com
Financial Advisor to Official Committee of                                     Earnestiena Cheng, Daniel H           Earnestiena.Cheng@fticonsulting.com;
Unsecured Creditors                        FTI Consulting                      O'Brien                               Daniel.H.O'Brien@fticonsulting.com
                                                                               Melissa S. Hayward, Zachery Z.        MHayward@HaywardFirm.com;
Counsel for the Debtor                      Hayward & Associates PLLC          Annable                               ZAnnable@HaywardFirm.com
                                                                                                                     ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment                                             Douglas S. Draper, Leslie A. Collins, lcollins@hellerdraper.com;
Trust and Get Good Trust               Heller, Draper & Horn, L.L.C.           Greta M. Brouphy                      gbrouphy@hellerdraper.com
Counsel for CLO Holdco, Ltd. and Grant                                                                               jcoleman@krcl.com;
Scott                                  Kane Russell Coleman Logan PC           Joseph M. Coleman, John J. Kane       jkane@krcl.com
                                                                                                                     hugh.connor@kellyhart.com;
Counsel for CLO Holdco, Ltd. and                                               Hugh G. Connor II, Michael D.         michael.anderson@kellyhart.com;
Highland Dallas Foundation, Inc.            Kelly Hart & Hallman               Anderson, Katherine T. Hopkins        katherine.hopkins@kellyhart.com
Counsel for CLO Holdco, Ltd. and
Highland Dallas Foundation, Inc.            Kelly Hart & Pitre                 Amelia L. Hurt                        amelia.hurt@kellyhart.com
Counsel for CLO Holdco, Ltd. and
Highland Dallas Foundation, Inc.            Kelly Hart & Pitre                 Louis M. Phillips                     louis.phillips@kellyhart.com
Counsel for UBS Securities LLC and                                                                                   andrew.clubok@lw.com;
UBS AG London Branch                        Latham & Watkins LLP               Andrew Clubok, Sarah Tomkowiak        sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                                                                                   asif.attarwala@lw.com;
UBS AG London Branch                        Latham & Watkins LLP               Asif Attarwala, Kathryn K. George     Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                                                                   jeff.bjork@lw.com;
UBS AG London Branch                        Latham & Watkins LLP               Jeffrey E. Bjork, Kimberly A. Posin   kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                                   Zachary.Proulx@lw.com;
UBS AG London Branch                        Latham & Watkins LLP               Zachary F. Proulx, Jamie Wine         Jamie.Wine@lw.com
Counsel for CLO Holdco, Ltd. / Trustee
for the Dugaboy Investment Trust and
Get Good Nonexempt Trust / Charitable
DAF Fund, L.P. / Grant James Scott III in
His Individual Capacity                     Myers Bigel P.A.                   Grant Scott, Director                 gscott@myersbigel.com
Counsel for CLO Holdco, Ltd. and                                                                                     MAS@SbaitiLaw.com;
Charitable DAF Fund, L.P.                   Sbaiti & Company PLLC              Mazin A Sbaiti, Jonathan Bridges      jeb@sbaitilaw.com
                                                                                                                     mclemente@sidley.com;
                                                                               Matthew Clemente, Alyssa Russell,     alyssa.russell@sidley.com;
Counsel for Official Committee of                                              Elliot A. Bromagen, Dennis M.         ebromagen@sidley.com;
Unsecured Creditors                         Sidley Austin LLP                  Twomey                                dtwomey@sidley.com
                                                                                                                     preid@sidley.com;
                                                                               Penny P. Reid, Paige Holden           pmontgomery@sidley.com;
Counsel for Official Committee of                                              Montgomery, Juliana Hoffman,          jhoffman@sidley.com;
Unsecured Creditors                         Sidley Austin LLP                  Chandler M. Rognes                    crognes@sidley.com




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                             EXHIBIT B
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                                                                                                    Exhibit B
                                                                                              Adversary Service List
                                                                                            Served via First Class Mail



            Description                           CreditorName                    CreditorNoticeName                   Address1              Address2     Address3        City      State      Zip       Country
                                                                          John Y. Bonds, III, John T. Wilson,
                                       Bonds Ellis Eppich Schafer Jones   IV, Bryan C. Assink, Clay M. Taylor, 420 Throckmorton Street,
Counsel for James Dondero              LLP                                William R. Howell, Jr.               Suite 1000                                            Fort Worth     TX      76102
                                                                                                                                                                                                         Cayman
Affected Party                         Charitable DAF Fund, LP            c/o Intertrust Corporate Services     Caymana Bay Suite 3211      George Town              Grand Cayman                        Islands
Counsel for the Dugaboy Investment                                        Douglas S. Draper, Leslie A. Collins, 650 Poydras Street, Suite
Trust and Get Good Trust               Heller, Draper & Horn, L.L.C.      Greta M. Brouphy                      2500                                                 New Orleans    LA      70130
Counsel for CLO Holdco, Ltd. and                                                                                901 Main Street, Suite
Grant Scott                            Kane Russell Coleman Logan PC      Joseph M. Coleman, John J. Kane 5200                                                       Dallas         TX      75242-1699
Counsel for CLO Holdco, Ltd. and                                          Hugh G. Connor II, Michael D.         201 Main Street, Suite
Highland Dallas Foundation, Inc.       Kelly Hart & Hallman               Anderson, Katherine T. Hopkins        2500                                                 Fort Worth     TX      76102
Counsel for CLO Holdco, Ltd. and                                                                                400 Poydras Street, Suite
Highland Dallas Foundation, Inc.       Kelly Hart & Pitre                 Amelia L. Hurt                        1812                                                 New Orleans    LA      70130
Counsel for CLO Holdco, Ltd. and                                                                                301 Main Street, Suite
Highland Dallas Foundation, Inc.       Kelly Hart & Pitre                 Louis M. Phillips                     1600                                                 Baton Rouge    LA      70801
Counsel for UBS Securities LLC and                                                                              555 Eleventh Street, NW,
UBS AG London Branch                   Latham & Watkins LLP               Andrew Clubok, Sarah Tomkowiak Suite 1000                                                  Washington     DC      20004
Counsel for UBS Securities LLC and                                                                              330 North Wabash
UBS AG London Branch                   Latham & Watkins LLP               Asif Attarwala, Kathryn K. George     Avenue, Ste. 2800                                    Chicago        IL      60611
Counsel for UBS Securities LLC and                                                                              355 S. Grand Ave., Ste.
UBS AG London Branch                   Latham & Watkins LLP               Jeffrey E. Bjork, Kimberly A. Posin 100                                                    Los Angeles    CA      90071
Counsel for UBS Securities LLC and                                                                              1271 Avenue of the
UBS AG London Branch                   Latham & Watkins LLP               Zachary F. Proulx, Jamie Wine         Americas                                             New York       NY      10020
Counsel for CLO Holdco, Ltd. /
Trustee for the Dugaboy Investment
Trust and Get Good Nonexempt Trust
/ Charitable DAF Fund, L.P. / Grant
James Scott III in His Individual                                                                                4140 Park Lake Ave, Ste
Capacity                               Myers Bigel P.A.                   Grant Scott, Director                  600                                                 Raleigh        NC      27612
Counsel for CLO Holdco, Ltd. and                                                                                                         2200 Ross        Suite
Charitable DAF Fund, L.P.              Sbaiti & Company PLLC              Mazin A Sbaiti, Jonathan Bridges       J.P. Morgan Chase Tower Avenue           4900W      Dallas         TX      75201




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